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 1                                                                Hon. Richard A. Jones
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 6                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 7                                AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                  No. CR14-165RAJ
                            Plaintiff,
10
            v.                                      ORDER GRANTING
11                                                  MOTION TO SEAL
     JERRY DELMAN,
12
                            Defendant.
13

14         THIS MATTER has come before the court on Defendant Jerry Delman’s
15   Motion to Seal. Having considered the motion the files and pleadings herein, and
16   being fully advised,
17         IT IS HEREBY ORDERED that the court finds there to be good cause, and
18   therefore GRANTS Defendant Jerry Delman’s Motion to Seal (Dkt. #215).

19         DATED this 23rd day of February, 2016.

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21
                                                        A
                                                        The Honorable Richard A. Jones
                                                        United States District Judge
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      ORDER GRANTING
      MOTION TO SEAL – 1
